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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:05CR306
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
JAMES L. FARLEY,                                   )
                                                   )
                     Defendant.                    )
       This matter is before the court on the motion for an extension of time by defendant
James L. Farley (Farley) (Filing No. 20). Farley seeks until October 4, 2005, in which to file
pretrial motions in accordance with the progression order (Filing No. 12). Farley's counsel
represents that counsel for the government has no objection to the motion. Farley has filed
an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No.
20). Upon consideration, the motion will be granted.
       IT IS ORDERED:
       Defendant Farley's motion for an extension of time (Filing No. 20) is granted.
Defendant Farley is given until on or before October 4, 2005, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
September 20, 2005 and October 4, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel requires additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 20th day of September, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
